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     UNITED STATES COURT OF INTERNATIONAL TRADE
  THE HONORABLE TIMOTHY C. STANCEU, SENIOR JUDGE


AMERICAN DREW, INC., et al.,        )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )              No. 17-00086
                                    )
UNITED STATES OF AMERICA, et al., )
                                    )
     Defendants.                    )
____________________________________)

                               NOTICE OF APPEAL

         Notice is hereby given that all Plaintiffs in the above-named case hereby

appeal to the United States Court of Appeals for the Federal Circuit the denial of

Plaintiffs’ motion for reconsideration on June 8, 2022 and the denial of Plaintiffs’

motion for judgment and entry of final judgment for the Defendants on June 16, 2022.

American Drew v. United States, CIT No. 1:17-cv-00086-TCS, Slip op. 22-61 (ECF

No. 94), Slip op. 22-71 (ECF No. 95), and the Judgment (ECF No. 96) (Ct. Int’l Trade

2022).
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Dated: August 5, 2022                         /s/ J. Michael Taylor
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